



















NO. 07-10-0244-CV

&nbsp;

IN THE
COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL B

&nbsp;

FEBRUARY 28, 2011

_____________________________

&nbsp;

&nbsp;

LAKEITH AMIR-SHARIF, &nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant

v.

&nbsp;

BRUCE ZELLER, et al.,&nbsp; 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellees

_____________________________

&nbsp;

FROM THE 242ND DISTRICT COURT
OF SWISHER COUNTY;

&nbsp;

NO. B-11381-09-04; HONORABLE
EDWARD LEE SELF, PRESIDING

_____________________________

&nbsp;

Memorandum Opinion

_____________________________

&nbsp;

Before QUINN, C.J.,
and CAMPBELL and HANCOCK, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Lakeith
Amir-Sharif, an indigent inmate, appeals from two orders of the trial court –
one which found him to be a vexatious litigant and another one dismissing his
petition for writ of mandamus against various prison officials.&nbsp; Amir-Sharif contends the trial court erred in
1) finding him to be a vexatious litigant, 2) failing to conduct a hearing and
render a decision on his motion to transfer venue, and 3) failing to review his
pleadings under a liberal construction standard.&nbsp; We affirm.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Dismissal&nbsp;


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
State filed a motion to dismiss under Chapter 14 of the Civil Practice and
Remedies Code.&nbsp; The trial court granted that motion and dismissed
the lawsuit with prejudice on the basis that Amir-Sharif’s claims have no basis
in law or in fact. &nbsp;One of the grounds in the motion to
dismiss involved the
failure of Amir-Sharif to sue within thirty-one days of the date his grievances were
adjudicated.&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; According
to statute, an inmate seeking to prosecute claims that are subject to the
prison grievance system must file with the court an affidavit or unsworn
declaration stating the date that the grievance was filed and the date the
written decision was received by the inmate.&nbsp;
Tex. Civ. Prac. &amp; Rem. Code Ann. §14.005(a)(1) (Vernon 2002).&nbsp;
He must also attach a copy of the written decision.&nbsp; Id. §14.005(a)(2).&nbsp; Moreover, the trial court must dismiss the
claim if the inmate failed to initiate it before the thirty-first day after
the date the inmate receives the written decision from the grievance system.[1]&nbsp; Id. §14.005(b); see Loyd v. Seidel, 281 S.W.3d 55, 56 (Tex. App.–El
Paso 2008, no pet.) (holding that a lawsuit not timely filed at the conclusion
of the grievance procedure is barred).&nbsp; Amir-Sharif
did not file the required affidavit or declaration showing either the date he
filed his grievance or the date he received his written decision.&nbsp; However, two documents reflecting the
grievances of appellant disclosed that they were adjudicated on August 22, 2008, and October 20, 2008, respectively.&nbsp; Moreover, Amir-Sharif did not initiate his
claim with the trial court until April 22, 2009; nor does he contend that those
adjudicating the grievance delayed, in any way, in notifying him of the August
22nd or October 20th resolution grievances.&nbsp;
Since the period bertween October 20th and April 22nd far exceeds thirty-one days,
dismissal of the cause was mandated.&nbsp; See Wolf v. Tex. Dep’t of Criminal Justice, 182 S.W.3d
449, 451 (Tex. App.–Texarkana 2006, pet. denied) (holding that when the
required affidavit was not filed and in the absence of any indication that the
plaintiff did not receive the final decision in a timely manner, the court
could conclude that over thirty-one days had elapsed).&nbsp; This being so, the other issues urged by
appellant, including his
complaint as to the finding he was a vexatious litigant, need not be
addressed.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
overrule appellant’s issues and affirm the order dismissing the cause under &nbsp;§14.001 et.
seq. of the Texas Civil Practice and Remedies
Code.&nbsp; 

&nbsp;

Brian Quinn

Chief Justice











[1]The
Government Code precludes an inmate from filing a claim until he has exhausted
his remedies through the grievance system.&nbsp;
Tex. Gov’t Code&nbsp; Ann. §501.008(d) (Vernon
2004).&nbsp; 







